
53 So. 3d 1092 (2011)
Carl MILLS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-4759.
District Court of Appeal of Florida, First District.
January 19, 2011.
Carl Mills, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
We hereby grant the petition for writ of mandamus. The circuit court shall rule on the pending motion for postconviction relief filed pursuant to rule 3.850, Florida Rules of Criminal Procedure, within a reasonable time, not to exceed 30 days from issuance of mandate in this cause. Because we are confident that the circuit court will issue a ruling, we withhold issuance of the formal writ.
DAVIS, HAWKES, and WETHERELL, JJ., concur.
